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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 NUVASIVE, INC.,

                    Plaintiff,

 v.                                                 Case No. 6:17-cv-2206-CEM-GJK

 ABSOLUTE MEDICAL, LLC,
 GREG SOUFLERIS, DAVE
 HAWLEY, ABSOLUTE
 MEDICAL SYSTEMS, LLC, and
 RYAN MILLER,

                    Defendants.


                       SECOND AMENDED
             CASE MANAGEMENT AND SCHEDULING ORDER

        THIS CAUSE is before the Court on the Parties’ Case Management Report

 (Doc. 289). Pursuant to Federal Rule of Civil Procedure 16(b) and Local Rule

 3.02(c), it is ORDERED that counsel and all parties, including pro se parties, shall

 comply with the following deadlines and instructions. The deadlines herein shall

 not be extended without Court approval.

  Action or Event                           Deadline
  Completion of discovery and motion to     JUNE 30, 2021
  compel discovery
  Dispositive and Daubert motions           JULY 23, 2021
  Filing of the joint final pretrial        NOVEMBER 15, 2021
  statement; any other motions, including
  motion in limine; jointly proposed jury



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  instructions and jointly proposed
  verdict form
  In-Person Final Pretrial Conference         NOVEMBER 22, 2021 at 3:00 PM in
                                              Courtroom 5B
  Jury trial                                  NOVEMBER 29, 2021 at 8:30 A.M.

        All other provisions of the Amended Case Management and Scheduling
        Order (Doc. 193) continue to apply.

        DONE and ORDERED in Orlando, Florida on May 5, 2021.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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